Case 3:24-cv-03054-B         Document 31        Filed 03/13/25      Page 1 of 28      PageID 144



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 CONSUMER FINANCIAL PROTECTION
 BUREAU,
                                                      Case No. 3:24-cv-03054-B
                Plaintiff,
                v.                                    Judge Jane J. Boyle

 COMERICA BANK,

                Defendant.




                                 AMENDED COMPLAINT

       1.       The Consumer Financial Protection Bureau (Bureau) brings this action against

Comerica Bank (Comerica or the Bank) under Sections 1031, 1036, 1054, and 1055 of the

Consumer Financial Protection Act of 2010 (CFPA), 12 U.S.C. §§ 5531, 5536(a)(1)(A)-(B),

5564, and 5565; the Electronic Fund Transfer Act (EFTA), 15 U.S.C. § 1693 et seq.; and its

implementing Regulation E, 12 C.F.R. pt. 1005, Subpart A.

       2.      Created in 2007 to reduce the reliance on paper checks, the U.S. Department of

the Treasury’s Direct Express Debit Mastercard (Direct Express) program makes federal benefit

payments available electronically to millions of senior citizens, veterans, disabled Americans,

and other beneficiaries via prepaid debit cards. Direct Express participants are generally

unbanked individuals who depend on the benefits they receive to pay for housing, utilities,

transportation, and other essential expenses.

       3.      From 2008 to January 2025, Comerica contracted with the Treasury Department’s

Bureau of the Fiscal Service (BFS) to serve as the exclusive administrator for the Direct Express

program. Direct Express cardholders have their benefits loaded onto the prepaid cards issued by

                                                1
Case 3:24-cv-03054-B          Document 31        Filed 03/13/25       Page 2 of 28       PageID 145



Comerica and contact Comerica for all day-to-day issues with the card, including any concerns

about fraudulent transactions, stolen or lost cards, or an inability to access their funds.

       4.      In its administration of the Direct Express program, Comerica and its Vendors

must comply with applicable statutes and regulations designed to protect consumers, including in

particular the EFTA and Regulation E. The primary purpose of the EFTA and Regulation E is

the provision of individual consumer rights and ensuring protection of consumers engaging in

electronic fund transfers.

       5.      Since 2019, however, Comerica has repeatedly failed to comply with the

protections set out in the EFTA and Regulation E in connection with Direct Express

cardholders. For example, Comerica failed to honor cardholders’ timely requests to cancel

preauthorized transfers (like an automatically recurring cell phone bill), failed to timely

investigate cardholders’ notices of error, and failed to honor cardholders’ timely stop-payment

requests.

       6.        Additionally, in numerous instances since April 2019 Comerica has impeded

Direct Express cardholders’ efforts to dispute unauthorized transfers and internal errors

affecting the funds in their accounts and to seek liability protection from unauthorized

transfers as provided in Regulation E.

       7.        Comerica also provided consumers who contacted the Bank alleging they had

been fraudulently enrolled into the Direct Express program with inaccurate and incomplete

information regarding the claimed fraud, impairing the consumers’ understanding of the

nature of the fraud and the steps needed to address it.

       8.        Comerica, through its Vendors, also charged more than one million Direct

Express cardholders ATM fees to access their government benefits in situations where the



                                                  2
Case 3:24-cv-03054-B         Document 31         Filed 03/13/25     Page 3 of 28     PageID 146



cardholders were entitled to free withdrawals.

       9.      As detailed below, Comerica’s conduct in administering the Direct Express

program violates the EFTA’s prohibition on waiving consumers’ rights conferred by the

statute, numerous requirements of Regulation E, and the CFPA’s prohibition on unfair acts or

practices.

       10.      The Bureau seeks injunctive and other equitable relief to address and remedy

Comerica’s unlawful conduct, redress and damages for injured consumers, and a civil money

penalty.

                                 JURISDICTION AND VENUE

       11.      This Court has subject-matter jurisdiction over this action because it is brought

under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1), presents a federal question, 28

U.S.C. § 1331, and is brought by an agency of the United States, 28 U.S.C. § 1345.

       12.      Venue is proper in this district because Comerica is located, resides, and does

business in this district. 12 U.S.C. § 5564(f); 28 U.S.C. § 1391(b)(1).

                                            PARTIES

       13.      The Bureau is an independent agency of the United States charged with

regulating “the offering and provision of consumer financial products or services under the

Federal consumer financial laws.” 12 U.S.C. § 5491(a). The Bureau has independent litigating

authority, 12 U.S.C. § 5564(a)-(b), including the authority to enforce the EFTA, Regulation E,

and the CFPA, and to secure appropriate relief for violations of those provisions, 12 U.S.C.

§§ 5481(12)(C) and (14), 5565.

       14.      Comerica is a Texas banking association headquartered in Dallas, Texas.

Comerica is a subsidiary of Comerica Incorporated, one of the largest banking associations in the



                                                 3
Case 3:24-cv-03054-B         Document 31          Filed 03/13/25    Page 4 of 28       PageID 147



country.

       15.      Comerica is a “covered person” pursuant to 12 U.S.C. § 5481(6)(A) because it

offers and provides consumer financial products or services, as defined under 12 U.S.C.

§ 5481(5). Relevant to this action, Comerica engages in deposit-taking activities, transmits or

exchanges funds, and otherwise acts as a custodian of funds or any financial instrument for use

by or on behalf of consumers primarily for personal, family, or household purposes. 12 U.S.C.

§ 5481(15)(A)(iv).

       16.      Comerica is also a “financial institution” subject to the EFTA and Regulation E

because it is a national bank holding consumer deposit accounts. 15 U.S.C. § 1693a(9); 12 C.F.R.

§ 1005.2(i).

                                  FACTUAL ALLEGATIONS

   A. Direct Express Program

       17.      In 2007, BFS established the Direct Express program to replace paper benefit

checks with electronically transmitted benefits. Through this program, recipients of certain

benefits—federal and state-disbursed Social Security and supplemental security income (SSI) for

adults and children with disabilities, veterans’ pension and education assistance, civil service

retirement, and compensation for coal workers with black lung disease, among others—can

receive their benefits on a prepaid debit card.

       18.      Since 2013, with limited exceptions, federal beneficiaries have had only two

options for how to receive their benefit payments: through a Direct Express card or direct deposit

to a bank account.

       19.      In 2019, due to complaints from veterans about fraud in and other problems with

the Direct Express program, the Department of Veterans Affairs created a program that offers



                                                  4
Case 3:24-cv-03054-B            Document 31           Filed 03/13/25         Page 5 of 28        PageID 148



free checking accounts to veterans, thereby allowing most veterans to avoid reliance on Direct

Express. Federal beneficiaries without a bank account, however, must receive their benefits via a

Direct Express card.

        20.       From January 2008 to January 2025, Comerica had an exclusive contract with

BFS to administer the Direct Express program by providing the prepaid Direct Express card and

associated account services to enrollees in the program. In exchange, BFS pays Comerica a fee

for every beneficiary who enrolls in the Direct Express program.

        21.       When it was the exclusive administrator, Comerica provided around $3 billion in

benefits annually to approximately 3.4 million Direct Express cardholders. 1

    B. Direct Express Cardholders’ Rights Under Regulation E

        22.       Like all consumers, Direct Express cardholders have certain rights and

protections under the EFTA and Regulation E. These rights include the rights listed in

paragraphs 23-27, below.

        23.       Under 12 C.F.R. § 1005.6(b), cardholders may limit their liability for

unauthorized transfers to $50 (or to the amount of transfers prior to providing notice, if that

amount is lower) if they notify Comerica within two business days after learning they have lost

their cards or their cards have been stolen.

        24.       Under 12 C.F.R. § 1005.10(c)(1), cardholders are entitled to stop payment of any

preauthorized transfers from their accounts by notifying Comerica orally or in writing at least

three business days before the scheduled date of the transfer.

        25.       Under 12 C.F.R. § 1005.11(b), cardholders have the right to trigger an

investigation by Comerica of an unauthorized transfer or error if they provide Comerica with oral


1
 Although its contract with BFS was not renewed, Comerica continues to service Direct Express accounts as the
program is transitioned to the new Direct Express administrator.

                                                       5
Case 3:24-cv-03054-B         Document 31         Filed 03/13/25       Page 6 of 28      PageID 149



or written notice within 60 days or receiving a statement reflecting the error.

          26.    Under 12 C.F.R. § 1005.11(c), cardholders are entitled to have that investigation

completed within 10 business days of their providing notice of that error. If Comerica is unable

to complete its investigation within those 10 days, it can extend that deadline to 45 days, but only

if it provides a provisional credit to the cardholder in the amount of the error, subject to certain

limited exceptions.

          27.    Under 12 C.F.R. § 1005.11(d), cardholders are entitled to notice from Comerica

of the results of any investigation, and if Comerica determines that no error or a different error

occurred than the one asserted by the cardholder, the cardholder is entitled to “a written

explanation of the institution’s findings” that “shall note the consumer’s right to request the

documents that the institution relied on in making its determination.” If Comerica debits a

provisional credit that had been provided, it must notify the cardholder of the date and amount of

the debiting, and that it will honor checks, similar instruments, and preauthorized transfers from

the customer’s account, without assessing an overdraft charge, for five business days after the

notification, to the extent it would have paid any amounts had the provisionally credited funds

not been debited.

          28.    Comerica is responsible for ensuring that Direct Express cardholders are able to

exercise these rights in a timely fashion to protect their accounts from unauthorized transfers and

dispute any internal errors related to their accounts. Comerica is also responsible for providing

reasoned explanations for any decisions by Comerica related to cardholders’ exercise of these

rights.

          29.    As described above, in order to preserve certain rights, consumers must have the

ability to contact Comerica within a certain period of time (e.g., two business days after the loss



                                                  6
Case 3:24-cv-03054-B         Document 31        Filed 03/13/25      Page 7 of 28      PageID 150



of a card, or three business days before a previously scheduled transfer). Consumers also need

the ability to contact Comerica promptly to trigger certain obligations on the Bank that begin

from the date on which consumer contacts it (e.g., Bank must complete investigation within 10

business days of consumer’s notice of error).

   C. Comerica’s Use of Vendors for Account Services

       30.       Comerica’s contract with BFS allows the Bank to use contractors to perform

services under the agreement but stipulates that Comerica is responsible for the acts or omissions

of the contractors as if the acts or omissions were its own. Under the terms of its contract with

BFS, Comerica is responsible for the supervision and management of its Vendors and is required

to remove and replace any Vendor that fails to perform satisfactorily.

       31.       Comerica has outsourced the performance of many account services subject to

the EFTA and Regulation E to two vendors: Vendor 1 and Vendor 2 (collectively, “the

Vendors”). These services include providing cardholders disclosures and account statements;

issuing and funding cards; stopping preauthorized transfers at the cardholder’s request; call

monitoring and complaint management; and resolving notices of error by providing provisional

credit, performing investigations, communicating these investigations’ results to cardholders, and

correcting errors.

       32.       When Comerica was the exclusive administrator for the Direct Express program,

Vendor 2 performed account services for a few hundred thousand cardholders accounts, while

Vendor 1 performed account services for the remaining millions of accounts.

       33.       The Vendors also each manage a version of Comerica’s customer service phone

line, providing infrastructure for the phone line and recruiting, training, and paying the customer

service representatives who field cardholder inquiries and complaints.



                                                7
Case 3:24-cv-03054-B        Document 31        Filed 03/13/25       Page 8 of 28      PageID 151



       34.      Though Comerica has outsourced a number of the Direct Express program’s

cardholder services to the Vendors, it cannot outsource its obligations to administer the program

in compliance with Regulation E, the EFTA, and the CFPA. Comerica must ensure that its

Vendors comply with these laws or be liable for their failures.

   D. Comerica Encourages Cardholders to Use Its Customer-Service Phone Line for
      Account Services and to Invoke Certain Consumer Protection Rights

       35.      Direct Express cardholders rely on Comerica’s customer service phone lines for

their day-to-day account services, including to invoke certain rights under the EFTA and

Regulation E.

       36.      Under Regulation E, certain protections for cardholders are dependent on the

consumer providing prompt notice to the Bank, and certain obligations for the Bank flow from

the date on which it receives notice from a cardholder of the issue. (See Section B, supra).

       37.      Since at least April 1, 2019, Comerica has advertised its customer service phone

lines as the best way to contact the Bank. In the Direct Express welcome letter and Terms of Use

Comerica sends to new cardholders, the Bank touts that the phone line is available “24 Hours a

Day / 7 Days a Week” to address any questions or concerns the cardholder may have.

       38.      By Comerica’s design, the customer service phone lines are cardholders’ most

convenient option to assert consumer protection rights. For example, the Bank will only accept

Regulation E notices of error or requests to stop preauthorized payments through the phone line

or the mail. Although Comerica does currently offer certain automated options on its phone line,

as well as a Direct Express website and app, cardholders cannot use these methods to access

Regulation E’s protections. They can only use the website and app for basic services like

checking their account balances, ordering replacement cards, and changing their contact

information. And until 2022, the website and app only allowed cardholders to view their account


                                                8
Case 3:24-cv-03054-B         Document 31        Filed 03/13/25       Page 9 of 28      PageID 152



information. To avail themselves of Regulation E protections by, for instance, filing a notice of

error, initiating a stop payment request, or cancelling a preauthorized transfer, cardholders had to

call or write the Bank.

         39.   When calling into Comerica’s customer service phone lines, however, Direct

Express cardholders regularly have difficulty reaching Comerica.

         40.   Indeed, some Direct Express cardholders who call Vendor 1’s customer service

phone line never reach a representative because Vendor 1 repeatedly and involuntarily

disconnects their calls. Vendor 1, unlike Vendor 2, does not offer to call cardholders back when

call volumes are high. To reduce wait times during high call volume periods, Vendor 1 instead

automatically and intentionally drops any call that it determines does not concern a limited set of

topics, using a function called Heavy Queue. Heavy Queue is activated based on the raw number

of calls already in queue or when call volume is elevated relative to the number of available

customer service representatives.

         41.   Before September 2019, Heavy Queue, when active, dropped all calls. Since that

time, Heavy Queue drops calls based on the issues Vendor 1 determines cardholders are calling

about.

         42.   When Direct Express cardholders call Vendor 1’s phone line, they first encounter

an automated phone tree that asks them to identify, from a provided set of topics, the nature of

their call.

         43.   Currently, when Heavy Queue is active, cardholders will be placed in a queue to

wait for the next available customer service representative if they select the topics for reporting

an expired, lost, or stolen card; attempting to stop a preauthorized payment; inquiring about a

card blocked due to suspected fraud; or calling about new disputes.



                                                 9
Case 3:24-cv-03054-B        Document 31        Filed 03/13/25       Page 10 of 28    PageID 153



       44.     Cardholders who do not select one of the foregoing options will hear a recorded

message that indicates the Bank is “experiencing heavy call volumes,” directs them to use the

website or try calling back later, and then disconnects the call. The recorded message does not

provide information about when a customer service representative will become available, nor

does it prompt the caller to request a call back from a representative.

       45.     Comerica knows that Vendor 1 has used Heavy Queue since 2013 and, to date,

has continually allowed it to do so.

       46.     From April 1, 2019 to June 30, 2023, Vendor 1 dropped almost 25 million calls

with its Heavy Queue function—3.5 million more calls than it answered.

       47.     Even though Vendor 1 uses Heavy Queue to manage high call volumes, call wait

times for cardholders who do not have their calls disconnected are frequently long, with some

cardholders waiting several hours to speak with a customer service representative.

       48.     These long waits can occur any time during the month and adversely impact

cardholders’ attempts to assert their rights under Regulation E and the EFTA.

       49.     For example, in March, April, and May 2022, cardholders calling into the Vendor

1- and Vendor 2-managed phone lines waited over an hour, on average, to speak with a customer

service representative. During these same months, some cardholders waited for as long as two-

and-a-half hours to speak with a customer service representative. Many cardholders hang up,

unable to wait that long on the phone.

       50.     Direct Express cardholders have frequently complained about their lengthy waits.

In June 2019 alone, Comerica received 274 complaints from cardholders unable to reach Vendor

1—some of whom reported waiting four hours to reach a representative. In July 2019, the Bank




                                                 10
Case 3:24-cv-03054-B          Document 31       Filed 03/13/25      Page 11 of 28      PageID 154



received 358 similar complaints. As recently as at least September 2023, cardholders continued

to face hours-long waits on the customer service phone lines.

       51.        Because of their issues reaching Comerica, some of these cardholders have had to

call repeatedly—over hours, days, and sometimes months—to reach a customer service

representative.

       52.        Direct Express cardholders with Vendor 1-managed cards also sometimes call

Comerica directly because they cannot get through via Vendor 1’s phone line. When this

happens, Comerica assesses whether they are calling to report a Regulation E error; if so, it will

connect them directly to Vendor 1.

       53.        Comerica regularly receives calls from cardholders who cannot get through to

Vendor 1 to report a Regulation E error. Comerica knows these cardholders often had to wait

long periods of time or have had their call repeatedly dropped when trying to alert Comerica

about unauthorized transfers on their accounts, receive provisional and final credit for such

transfers, report lost cards and other account problems that prevent them from using their funds,

or otherwise obtain account assistance.

       54.        Due to concern that the inaccessibility of Vendor 1’s phone line may be causing

Comerica to miss resolution deadlines required by Regulation E, Comerica created a separate,

dedicated phone line to backchannel these cardholders directly to Vendor 1 beginning around

February 2021. Since creating the separate phone line, Comerica has received calls every month

from cardholders who need to report Regulation E errors but cannot reach a customer service

representative via Vendor 1’s phone line. The overwhelming majority of these cardholders called

to report unauthorized transfers on their accounts.




                                                  11
Case 3:24-cv-03054-B         Document 31        Filed 03/13/25       Page 12 of 28       PageID 155



       55.     Comerica’s failure to ensure that its Vendors provide timely and effective

assistance to Direct Express cardholders interferes with cardholders’ ability to invoke the

protections to which they are entitled under the EFTA and Regulation E and to protect and

access their funds. For example, these failures delay or prevent cardholders from receiving

protection from and compensation for unauthorized transfers, and from otherwise receiving

access to their government benefits.

       56.     Many Direct Express cardholders are beneficiaries of federal programs for retirees

and individuals unable to work due to disability and thus have little income. Indeed, government

benefits are some cardholders’ sole source of income. Losing access to these benefits, even

temporarily, can leave cardholders unable to pay for housing, utilities, food, and other

necessities. The same is true when cardholders’ funds are stolen through unauthorized transfers.

       57.     For example, one cardholder attempted to contact Comerica because she had

ordered a replacement card but never received it. The cardholder, who has a hearing and speech

impediment, had a personal representative assist her. They each called Comerica for assistance at

least three times a week for three months, at times waiting almost an hour to speak with a

customer service representative. The cardholder eventually had to open a bank account to get

access to her funds because she had not received her replacement card; in the meantime, she

could not pay her rent or utilities, had her electricity turned off and incurred a turn-on fee, and

had to take out an $800 loan from her personal representative.

       58.     Another cardholder received a letter from Direct Express informing her that a

different Vendor would be managing her account and that she would be receiving a new card in

the mail the following month. After not receiving a new card she called Vendor 1’s phone line

every day for a month, and then every other day for the next two months, because Heavy Queue



                                                 12
Case 3:24-cv-03054-B        Document 31        Filed 03/13/25      Page 13 of 28      PageID 156



repeatedly dropped her calls. She had no access to her benefits for three months and had to send

a letter to her landlord explaining why she was late on rent.

       59.     These barriers to protecting and accessing their funds likely have led some

cardholders to give up entirely on seeking Regulation E’s protections or other assistance.

       60.     Direct Express cardholders cannot opt to have another bank administer their

Direct Express account. Nor can they choose which vendor Comerica designates to provide them

with account services or how those services are provided.

   E. Comerica’s Failure to Provide Cardholders with Accurate and Complete
      Information Regarding Enrollment Fraud

       61.     Sometimes consumers contacted Comerica alleging they had been fraudulently

enrolled into the Direct Express program because someone improperly created an account in

their name. When this occurred, Vendor 1, following procedures approved by Comerica,

investigated their claims in the same way it investigated notices of error under Regulation E.

       62.     If Vendor 1 determined that enrollment fraud occurred, it sent a template denial

letter from the Direct Express Fraud Services Department to the consumer, which stated

incorrectly that the Bank determined “that the transaction(s) in question were not unauthorized;

therefore, no error occurred.”

       63.     This letter did not accurately inform consumers of the results of Vendor 1’s

investigation: that enrollment fraud in fact occurred. Nor did it inform consumers that they

should contact the government entity paying the benefits at issue to recover any benefits that

may have been stolen.

       64.     Under Vendor 1’s procedures, only cardholders who called Vendor 1’s customer

service phone line in response to receiving the denial letter were informed about the occurrence

of enrollment fraud and received information about how to remedy the problem.

                                                13
Case 3:24-cv-03054-B         Document 31        Filed 03/13/25      Page 14 of 28      PageID 157



          65.   Those consumers who did not call Vendor 1’s customer service phone line in

response to a denial letter were not informed that Comerica or its Vendor determined there was

enrollment fraud or advised how the consumer can recover the lost benefits.

   F. Comerica’s Practice of Charging Cardholders ATM Fees They Did Not Owe

          66.   Between April 1, 2019 and April 30, 2024, Comerica, through its Vendors,

charged cardholders ATM fees that they did not owe.

          67.   At the time of enrollment, Comerica, through its Vendors, provided cardholders

with a disclosure itemizing all fees authorized for the Direct Express program.

          68.   The disclosure provided that cardholders are entitled to one free ATM withdrawal

per month per deposit of funds into their Direct Express accounts and that Comerica, through its

Vendors, assesses a fee for each additional withdrawal. The disclosure also confirmed that

“There is no ATM denial fee associated with this account.”

          69.   Comerica, through its Vendors, tracked cardholders’ free monthly ATM

withdrawal benefit by applying an ATM withdrawal waiver to each Direct Express account

every month.

          70.   Comerica’s Vendors received a benefits payment file for each cardholder before

the date the benefits were available to the cardholder for use and withdrawal. When Comerica

Vendors received this payment file, they often reset the cardholder’s monthly ATM withdrawal

waiver.

          71.   Because of this sequencing, a gap in time, generally lasting one to five days,

existed between the reset of the ATM withdrawal waiver and the cardholder’s ability to access

their funds for withdrawal (“the interstitial period”).




                                                  14
Case 3:24-cv-03054-B         Document 31        Filed 03/13/25       Page 15 of 28       PageID 158



       72.     Where a cardholder attempted an ATM withdrawal in the interstitial period and

the account had insufficient funds to complete the withdrawal, Comerica, through its Vendors,

denied the transaction. Despite denying the transaction for insufficient funds and not disbursing

any money, Comerica, through its Vendors, applied the ATM withdrawal waiver to the ATM

denial, which should never have incurred any fees.

       73.     When a cardholder in this situation later successfully completed the first

transaction after the newly deposited funds became available for withdrawal, Comerica, through

its Vendors, charged the cardholder an ATM withdrawal fee for the transaction—improperly

denying the cardholder the free monthly ATM withdrawal to which they were entitled.

       74.     During the relevant period, Comerica, through its Vendors, charged more than 1

million Direct Express cardholders millions of dollars in ATM fees for withdrawals that should

have been free.

       G.      Comerica’s Failure to Stop Payments

       75.     Under Regulation E, consumers are entitled to stop preauthorized electronic funds

transfers by notifying the relevant financial institution at least three business days before the

scheduled date of the transfer. 12 C.F.R. § 1005.10(c)(1).

       76.     Since April 1, 2019, Comerica, through its Vendors, has failed to honor thousands

of Direct Express cardholders’ timely stop-payment requests on preauthorized transfers.

       77.     When consumers sign up for Direct Express accounts, they receive terms of use

(Terms) which govern usage of their Direct Express cards.

       78.     Section B.2. of the Terms addresses preauthorized payments and states that

Direct Express cardholders have the right to cancel a preauthorized payment (commonly

referred to as a “stop-payment request”).



                                                 15
Case 3:24-cv-03054-B        Document 31       Filed 03/13/25      Page 16 of 28       PageID 159



       79.     The Terms sent to new Direct Express cardholders between April 1, 2019 and

May 31, 2020, listed two requirements to cancel a preauthorized payment: (1) Direct Express

cardholders had to contact customer service at the provided phone number or address at least

three business days before the scheduled date of payment, and (2) they also had to notify the

merchant.

       80.     In May 2020, Comerica, through its Vendors, began sending a change notice to

Direct Express cardholders, deleting from the Terms the requirement to notify the merchant

from the section on preauthorized payments.

       81.     For thousands of Direct Express cardholders whose accounts were serviced by

Vendor 1, from April 1, 2019 to July 2, 2020, customer service representatives did not process

stop-payment requests unless the cardholder indicated they had already contacted the merchant.

       82.     For thousands of Direct Express cardholders whose accounts were serviced by

Vendor 2, prior to August 31, 2020, Vendor 2 did not process stop-payment requests even if the

consumer had contacted the merchant because Vendor 2 lacked the technical capability to stop

preauthorized payments.

       83.     Instead, when Direct Express cardholders submitted stop-payment requests to

Vendor 2, Vendor 2’s customer service representatives advised them the only thing Vendor 2

could do was close the requesting cardholders’ accounts and issue a new debit card. The new

account would not have the preauthorization for the transfer that was attached to the old

account number.

       84.     Cardholders who followed Vendor 2’s instructions to close an account and

request a new card were charged a $4.00 fee for the replacement card. If the consumer

requested expedited delivery (2–3 day delivery) in order to avoid losing access to funds during



                                                16
Case 3:24-cv-03054-B        Document 31        Filed 03/13/25       Page 17 of 28      PageID 160



the standard 7–10 delivery period, the consumer was charged an additional $13.50.

       85.     Because Comerica, through its Vendors, offered cardholders one free

replacement card per year, if the consumer had not yet received a replacement card in the past

year, the $4.00 fee would be waived but the expedited delivery fee still applied.

   H. Comerica’s Failure to Timely Investigate Cardholder Claims

       86.     Under Regulation E, financial institutions must promptly investigate and resolve

notices of error and limit consumer liability for unauthorized electronic funds transfers (EFTs).

12 C.F.R. § 1005.11(c).

       87.     In its Terms, Comerica, through its Vendors, directs Direct Express cardholders to

contact customer support as soon as they can in instances where they believe an error has

occurred with their account.

       88.     Financial institutions are required to complete their investigations within 10

business days of receiving a notice of error. This can be extended to 45 days if the financial

institution gives the consumer provisional credit, and it can be extended further to 90 days if the

disputed transaction involves an EFT that was not initiated within a state, resulted from a point-

of-sale debit card transaction, or happened within 30 days after the first account deposit was

made. 12 C.F.R. § 1005.11(c).

       89.      Since April 1, 2019, in more than 19,900 instances, Comerica, through its

Vendors, has failed to promptly investigate Direct Express cardholders’ notices of error

concerning alleged unauthorized EFTs because it failed to determine whether an error occurred

within 10 business days of receiving the notice of error and could not avail itself of the longer

time periods for investigation permitted under Regulation E because it did not provide

provisional credit to consumers in these instances.



                                                 17
Case 3:24-cv-03054-B         Document 31        Filed 03/13/25       Page 18 of 28       PageID 161



        90.      During the same period, in more than 1,500 instances where Comerica, through

its Vendors, did issue provisional credits to consumers, it still failed to complete its investigation

of Direct Express cardholders’ notices of error concerning alleged unauthorized EFTs within the

required timeframes under Regulation E.

    I. Comerica’s Failure to Provide Cardholders with a Written Explanation of Its
       Findings

        91.     Under Regulation E, if a financial institution “determines that no error occurred or

that an error occurred in a manner or amount different from that described by the consumer,” the

report of the results of the investigation “shall include a written explanation of the institution’s

findings and shall note the consumer’s right to request the documents that the institution relied

on in making its determination.” 12 C.F.R. § 1005.11(d)(1).

        92.     Since April 1, 2019, Comerica, through its Vendors, has failed to send written

explanations to Direct Express cardholders informing them that no error occurred or that an error

occurred in a manner or amount that was different from what the cardholders indicated in more

than 40 instances.

        93.     In another more than 220,000 instances, Comerica, through its Vendors, upon

completing investigations of notices of error, sent notices to consumers that were vague and

failed to provide an explanation of its findings related to the claim. In some instances, it failed to

send a notice at all.

    J. Comerica’s Failure to Notify Cardholders that It Would Honor Checks and Drafts
       for Five Business Days after Debiting Previously Issued Provisional Credit Without
       Assessing Overdraft Fees.

        94.     Regulation E requires financial institutions, when rescinding provisional credit, to

inform consumers that it will honor checks, drafts, and preauthorized transfers for five business

days after the notification without charging the consumer as a result of an overdraft. 12 C.F.R.


                                                  18
Case 3:24-cv-03054-B          Document 31       Filed 03/13/25        Page 19 of 28       PageID 162



§ 1005.11(d)(2)(ii).

       95.       Since May 24, 2021, where Comerica, through its Vendors, provided notices to

Direct Express cardholders that provisional credit would be reversed, the transmittal letters did

not clearly explain that Comerica would not assess overdraft fees for any preauthorized transfers

it honored within the five-day grace period in more than 6,900 instances.

       96.       Separately, in more than 360 instances during the time period of November 15,

2020 to January 10, 2021, Comerica, through its Vendors, failed to notify Direct Express

cardholders that it was debiting previously issued provisional credit but would honor checks and

drafts for five business days without assessing overdraft fees for any preauthorized transfers

honored during that period.

                                            COUNT I
                               Violation of the CFPA (Unfairness)

   Comerica unfairly failed to provide consumers a reasonable way to obtain effective and
 timely assistance, interfering with consumers’ ability to avail themselves of Regulation E’s
                       protections and to protect and access their funds.

       97.       The Bureau realleges and incorporates by reference Paragraphs 1 through 96.

       98.       The CFPA makes it unlawful for any covered person to engage in any unfair act

or practice. 12 U.S.C. § 5536(a)(1)(B). An act or practice is unfair if it causes or is likely to

cause substantial injury to consumers, which is not reasonably avoidable by consumers, and such

substantial injury is not outweighed by countervailing benefits to consumers or to competition.

Id. § 5531(c).

       99.       Comerica’s failure to provide Direct Express cardholders with timely and

efficient assistance with their accounts has caused or was likely to cause substantial injury to

cardholders.

       100.      As outlined in paragraphs 35 to 60, the main way Direct Express cardholders

                                                  19
Case 3:24-cv-03054-B         Document 31        Filed 03/13/25        Page 20 of 28       PageID 163



invoke their protections under Regulation E and obtain account services is by calling

Comerica’s Vendor-managed phone lines and speaking with a customer service

representative. Since at least April 1, 2019, through its failure to provide sufficient assistance

to Direct Express cardholders, including by dropping and failing to answer consumers’ calls,

Comerica impeded cardholders’ ability to report unauthorized transactions on their accounts,

receive liability protection from such transactions, or obtain help with other account problems

that prevent them from accessing their essential government benefits.

       101.    Direct Express cardholders cannot reasonably avoid these injuries. Comerica

will only accept notices of error or requests to stop preauthorized payments through the phone

line or mail, and offers very few services through its Direct Express website or app. Further,

cardholders are a captive market. They are unable to choose the financial institution that

administers the Direct Express program, the Vendor assigned to manage their account, or the

manner in which Comerica and its vendors service Direct Express accounts.

       102.    These injuries are not outweighed by any countervailing benefits to consumers

or competition.

       103.    Accordingly, Comerica’s actions constituted unfair acts and practices, in violation

of the CFPA.

                                            COUNT II
                               Violation of the CFPA (Unfairness)

 Comerica unfairly provided consumers with inaccurate and incomplete information after
                       confirming instances of enrollment fraud.

       104.    The Bureau realleges and incorporates by reference Paragraphs 1 through 96.

       105.    The CFPA makes it unlawful for any covered person to engage in any unfair act

or practice. 12 U.S.C. § 5536(a)(1)(B). An act or practice is unfair if it causes or is likely to



                                                  20
Case 3:24-cv-03054-B         Document 31       Filed 03/13/25      Page 21 of 28       PageID 164



cause substantial injury to consumers, which is not reasonably avoidable by consumers, and such

substantial injury is not outweighed by countervailing benefits to consumers or to competition.

Id. § 5531(c).

       106.      As outlined in paragraphs 61 to 65, from April 1, 2019 through at least September

6, 2024, Comerica, through Vendor 1, provided inaccurate and incomplete information to

consumers who contacted Direct Express alleging that they had been fraudulently enrolled into

the Direct Express program. Even where Vendor 1 determined that enrollment fraud had

occurred, it sent the defrauded consumers incorrect response letters stating that “no error

occurred.” Comerica, through Vendor 1, also failed to inform the defrauded consumers that they

needed to contact the paying government agency to remediate their losses. In doing so, Comerica

engaged in an unfair practice.

       107.      Vendor 1’s incorrect response letters and failure to provide consumers with

information about the existence of enrollment fraud and the proper remedy caused or was likely

to cause substantial injury to consumers. Consumers could reasonably interpret the denial letter’s

statement that no error occurred as the final disposition of their disputes and abandon their

efforts to remedy the fraud. Thousands of consumers who had already been defrauded continued

to lose government benefits, which were being distributed to the fraudulent enrollees, despite

Vendor 1’s determination that enrollment fraud had, in fact, occurred.

       108.      Consumers could not reasonably avoid their injuries because Comerica, through

Vendor 1, misled them about the findings of its investigations and withheld the information

necessary for consumers to avoid or mitigate their losses.

       109.      These injuries are not outweighed by any countervailing benefits to consumers or

competition.



                                                 21
Case 3:24-cv-03054-B         Document 31        Filed 03/13/25        Page 22 of 28       PageID 165



       110.      Accordingly, Comerica’s actions constituted unfair acts and practices, in violation

of the CFPA.

                                            COUNT III
                                Violation of the CFPA (Unfairness)

   Comerica unfairly charged cardholders ATM withdrawal fees that they did not owe.

       111.      The Bureau realleges and incorporates by reference Paragraphs 1 through 96.

       112.      The CFPA makes it unlawful for any covered person to engage in any unfair act

or practice. 12 U.S.C. § 5536(a)(1)(B). An act or practice is unfair if it causes or is likely to

cause substantial injury to consumers, which is not reasonably avoidable by consumers, and such

substantial injury is not outweighed by countervailing benefits to consumers or to competition.

Id. § 5531(c).

       113.      As outlined in paragraphs 66 to 74, since at least April 1, 2019, Comerica,

through its Vendors, has charged Direct Express cardholders ATM withdrawal fees for

transactions that should have been free according to the fee schedule sent to the cardholders, and

as required by Comerica’s contract with BFS. In doing so, Comerica engaged in an unfair

practice.

       114.      The practice of charging incorrect ATM withdrawal fees caused or was likely to

cause substantial injury to Direct Express cardholders: for example, through its Vendors,

Comerica has charged more than 1 million Direct Express cardholders millions of dollars in

ATM withdrawal fees for transactions that should have been free.

       115.      Cardholders could not reasonably avoid their injuries. Cardholders are a captive

market and do not get to choose the financial institution that administers the Direct Express

program or the Vendor to which Comerica assigns their account for servicing. Nor could

cardholders reasonably anticipate that Comerica or its Vendor would incorrectly count failed

                                                  22
Case 3:24-cv-03054-B        Document 31        Filed 03/13/25       Page 23 of 28       PageID 166



ATM withdrawal attempts against their entitlement to one free monthly ATM withdrawal.

       116.    These injuries are not outweighed by any countervailing benefits to consumers or

competition.

       117.    Accordingly, Comerica’s actions constituted unfair acts and practices, in violation

of the CFPA.

                                           COUNT IV
                                      Violation of the EFTA

               Comerica required Direct Express cardholders to waive a right
                                 conferred by the EFTA.

       118.    The Bureau realleges and incorporates by reference Paragraphs 1 through 96.

       119.    Under the EFTA, no writing or agreement between a consumer and any other

person, which includes a financial institution, may contain any provision which constitutes a

waiver of any right conferred by the statute. 15 U.S.C. § 1693l.

       120.    One such right is consumers’ ability to stop a preauthorized transfer from the

consumer’s account by notifying the financial institution orally or in writing at least three

business days before the scheduled date of the transfer. 15 U.S.C. § 1693e(a); 12 C.F.R.

§ 1005.10(c)(1).

       121.    As outlined in paragraphs 75 to 85, from April 1, 2019 to December 1, 2020,

Comerica, through its Vendors, included a provision in its Terms requiring Direct Express

cardholders who were seeking to stop a preauthorized transfer to not only notify the Bank at least

three business days before the date of transfer, but also to contact the merchant. Indeed, prior to

July 2020, customer service representatives did not honor stop-payment requests unless the

cardholder had already contacted the merchant.

       122.    Comerica’s requirement in its Terms that Direct Express cardholders contact the



                                                 23
Case 3:24-cv-03054-B        Document 31        Filed 03/13/25        Page 24 of 28     PageID 167



merchant in order to stop a preauthorized transfer constitutes a waiver of the right to do so solely

by contacting the financial institution, in violation of the EFTA.

                                            COUNT V
                                    Violation of Regulation E

              Comerica failed to honor timely submitted stop-payment requests
                                 for preauthorized transfers.

       123.    The Bureau realleges and incorporates by reference Paragraphs 1 through 96.

       124.    Under Regulation E, a consumer may stop payment of a preauthorized transfer

from the consumer’s account by notifying the financial institution at least three business days

before the scheduled date of the transfer. 12 C.F.R § 1005.10(c)(1).

       125.    As outlined in paragraphs 75 to 85, prior to August 31, 2020, Comerica, through

its Vendors, did not stop timely submitted stop-payment requests on preauthorized transfers for

Direct Express cardholders whose accounts were serviced by Vendor 2.

       126.    Additionally, prior to July 2020, in certain instances Vendor 1’s representatives

did not process timely submitted requests to stop payment on preauthorized transfers because the

Direct Express cardholders had not contacted the merchant.

       127.    Accordingly, Comerica failed to honor timely submitted stop-payment requests,

in violation of Regulation E.

                                           COUNT VI
                                    Violation of Regulation E

                     Comerica failed to timely investigate notices of error.

       128.    The Bureau realleges and incorporates by reference Paragraphs 1 through 96.

       129.    Under Regulation E, financial institutions are required to promptly investigate

notices of error and determine whether an error occurred within 10 business days. 12 C.F.R.

§ 1005.11(c)(1). If a financial institution cannot complete its investigation within 10 business

                                                 24
Case 3:24-cv-03054-B         Document 31          Filed 03/13/25    Page 25 of 28      PageID 168



days, it may take up to 45 days to determine whether an error occurred, provided the financial

institution provisionally credits the consumer’s account in the amount of the alleged error. Id.

§ 1005.11(c)(2). For point-of-sale debit card transactions, such as those conducted with the

Direct Express card, financial institutions may take up to 90 days to complete their

investigation, if needed, provided they provisionally credit the consumer’s account while

completing the investigation. Id. § 1005.11(c)(3)(ii).

          130.   As outlined in paragraphs 86 to 90, since April 1, 2019, Comerica, through its

Vendors, did not complete more than 19,900 investigations of Direct Express cardholders’

notices of error within 10 business days for which they did not timely provide provisional

credit.

          131.   Additionally, since April 1, 2019, Comerica, through its Vendors, provided

provisional credit but did not complete more than 1,500 investigations of Direct Express

cardholders’ notices of error within 90 calendar days.

          132.   Accordingly, Comerica failed to timely investigate Direct Express cardholders’

notices of error, in violation of Regulation E.

                                            COUNT VII
                                     Violation of Regulation E

      Comerica failed to provide a written explanation of its findings after determining
                         that no error or a different error occurred.

          133.   The Bureau realleges and incorporates by reference Paragraphs 1 through 96.

          134.   Under Regulation E, where a financial institution completes an investigation

following a notice of error and determines that no error occurred or a different error occurred

from that described by the consumer, it must provide additional information to the consumer. 12

C.F.R. § 1005.11(d). In particular, the financial institution must provide a written explanation of



                                                   25
Case 3:24-cv-03054-B         Document 31        Filed 03/13/25         Page 26 of 28      PageID 169



its findings and shall note the consumer’s right to request the documents that the institution

relied on in making its determination. Id. § 1005.11(d)(1).

        135.    As outlined in paragraphs 91 to 93, in more than 140 instances, Comerica, through

its Vendors, concluded an investigation and determined that no error occurred but failed to send the

required written explanation to Direct Express cardholders.

        136.    Additionally, in more than 220,000 instances, Comerica, through its Vendors, sent

Direct Express cardholders notices that failed to state that the claim had been denied and did not

include sufficient explanation of its findings related to the claim.

        137.    Accordingly, Comerica failed to provide Direct Express cardholders with a written

explanation of the findings of its investigation, in violation of Regulation E.

                                           COUNT VIII
                                     Violation of Regulation E

  Comerica failed to notify consumers that it will honor checks, drafts, and preauthorized
 transfers for five business days after debiting previously issued provisional credit without
                                   charging overdraft fees.

        138.    The Bureau realleges and incorporates by reference Paragraphs 1 through 96.

        139.    Under Regulation E, where a financial institution completes an investigation

following a notice of error and determines that no error occurred or a different error occurred

from that described by the consumer, it must follow certain procedures. 12 C.F.R. § 1005.11(d).

In particular, if the financial institution is debiting a provisionally credited amount, the financial

institution must notify the consumer that the institution will honor checks, drafts, or similar

instruments payable to third parties and preauthorized transfers from the consumer’s account for

five business days after the notification (“five-day grace period”). Id. § 1005.11(d)(2)(ii). The

financial institution must expressly notify the consumer that such charges will not result in an

overdraft fee. Id.

                                                  26
Case 3:24-cv-03054-B        Document 31        Filed 03/13/25       Page 27 of 28       PageID 170



       140.    As outlined in paragraphs 94 to 96, when Comerica, through its Vendors,

determined that no error occurred and were debiting a provisionally credited amount, in more

than 360 instances, they failed to notify Direct Express cardholders that Comerica would honor

checks, drafts, or similar instruments payable to third parties and preauthorized transfers from

the consumer’s account for the five-day grace period, and would not assess overdraft charges for

any preauthorized transfers it honored within the five-day grace period. Separately, in more than

6,900 instances, Comerica, through its Vendors, sent cardholders notices that failed to explain

that Comerica would not assess overdraft charges for any preauthorized transfers it honored

within the five-day grace period.

       141.    Accordingly, Comerica failed to notify Direct Express cardholders that all checks,

drafts, and preauthorized transfers it honored during the five-day grace period would not result in

overdraft charges, in violation of Regulation E.

                                     PRAYER FOR RELIEF

      142.    WHEREFORE, the Bureau requests that this Court:

              a. Permanently enjoin Comerica from committing future violations of the

                  CFPA, the EFTA, and Regulation E;

              b. award such relief as the Court finds necessary to redress injury to

                  consumers resulting from Comerica’s violations, including but not

                  limited to the refund of moneys paid, restitution, disgorgement or

                  compensation for unjust enrichment, and payment of damages;

              c. impose a civil money penalty against Comerica;

              d. awards the Bureau its costs in bringing this action; and

              e. award additional relief as the Court may determine to be just and proper.



                                                   27
Case 3:24-cv-03054-B    Document 31   Filed 03/13/25     Page 28 of 28    PageID 171




Dated: March 13, 2025                       Respectfully submitted,


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                                       28
